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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS




 JOHN DOE,
                        Plaintiff                         CIVIL ACTION
                                                          No. 1:18-cv-12150-IT
 v.
 HARVARD UNIVERSITY, et al
                         Defendants.




             NOTICE OF AND ORDER WITH RESPECT TO MEDIATION

                                       January 23, 2020

CABELL, U.S.M.J.

       The parties are hereby notified that in accordance with the Order of Reference referring

this case to Alternative Dispute Resolution the court has scheduled a mediation conference at

10:00 am on Tuesday, February 11, 2020 in Courtroom 23 - Boston. All parties (or, if

applicable, representatives thereof) and counsel are required to attend and must have full

settlement authority - leave of court is required for any exceptions. It shall be understood that all

parties and counsel will participate in good faith and with the objective of settling the matter on

mutually acceptable terms. It shall be further understood that all parties, counsel, and other persons

who participate will keep confidential all communications exchanged during the conference.

       The parties are asked to accommodate the court’s scheduled mediation date. If the date

poses a serious conflict, please do NOT contact the Courtroom Deputy directly regarding

mediation scheduling; instead, the parties are to confer and file on CM/ECF an assented-to motion
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to continue the mediation, including therein several proposed dates for which all counsel and

principals are available.

       By no later than ten (10) days before the mediation the parties shall exchange settlement

proposals and inform the court immediately if they no longer believe it would be fruitful to hold

the mediation.

       By no later than seven (7) days before the mediation, each party shall provide the court

a confidential settlement memorandum (marked “Confidential – Not for Docketing”) of no more

than five pages addressing with candor, in enumerated sections, the following points:

       1.        A brief analysis of the key issues involved in the litigation, including a specific

                 breakdown of the claimed damages.

       2.        A description of the strongest and weakest legal and factual points in the party’s

                 case and the opponent’s case.

       3.        The status of settlement negotiations, including the last settlement proposal made

                 by each side. In this regard, counsel are directed to confer with their clients in

                 advance of the mediation conference to explore the party’s settlement position.

       4.        The settlement proposal that the party believes would be fair.

       5.        The settlement proposal that the party would be willing to make in order to

                 conclude the matter at this time.

       6.        A list of the expected attendees at the mediation along with a brief explanation of

                 their role or title.
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         Each memorandum shall be held in confidence by the court and shall not be filed on

CM/ECF. The memoranda should be sent to Noreen Russo, Deputy Clerk, Clerk’s Office, United

States District Court, 1 Courthouse Way, Boston, Massachusetts 02210, or preferably, e-mailed to

Noreen_Russo@mad.uscourts.gov.

         If you believe the case is not ripe for mediation1 you must notify opposing counsel and the

Court as soon as possible.

                  IT IS SO ORDERED.



                                                       /s/ Donald L. Cabell
                                                       DONALD L. CABELL
                                                       UNITED STATES MAGISTRATE JUDGE




         1
           Examples of reasons why a case might not be ripe for mediation are (1) crucial discovery has not yet been
done or (2) one or more of the parties is unwilling to settle the case on any terms or (3) one or more of the parties is
unwilling to settle the case on any terms other than those which the other party or other parties will find impossible to
accept.
